Filed 8/27/24 P. v. Ortiz CA1/4
                NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not
certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been
certified for publication or ordered published for purposes of rule 8.1115.


          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                 FIRST APPELLATE DISTRICT

                                            DIVISION FOUR



 THE PEOPLE,
     Plaintiff and Respondent,                                 A169815
     v.
                                                               (Mendocino County Super. Ct.
 ADELAIDO NARANJO ORTIZ,
                                                               No. SCUKCRCR-2015-840462)
     Defendant and Appellant.



          Defendant Adelaido Naranjo Ortiz appeals the sentence imposed
following the trial court’s revocation of his probation. He contends a remand
for resentencing is required because the court erred in failing to order a
supplemental probation report. The People concede the error but argue it is
harmless. We reverse.
                                            BACKGROUND
          The material facts are not in dispute. In December 2015, Ortiz pleaded
no-contest to one count of felony transportation of a controlled substance in
exchange for the dismissal of another count and a guarantee of “no state
prison” and “a maximum of 364 days in county jail.” After receiving a
probation report in March 2016, the trial court suspended imposition of
sentence and placed Ortiz on a three-year probation with various conditions.




                                                        1
      Ortiz never reported to his probation officer after his release. The trial
court revoked probation and issued an arrest warrant.
      Seven and a half years later, Ortiz was taken back into custody. The
probation department filed an amended petition recommending that Ortiz’s
probation be permanently revoked and that he be sentenced to the mid-term
of four years in prison. After Ortiz admitted to the allegations in the
amended petition, the trial court instructed the probation department to
prepare a credit memo, but it did not order the preparation of a supplemental
probation report. The credit memo summarized the case’s procedural history
and made the same recommendations as the amended petition.
      At the sentencing hearing, Ortiz’s counsel requested a “split” low-term
sentence of three years, with one year in jail and two years on mandatory
supervision. Defense counsel emphasized that Ortiz had no further arrests
and had — eventually — turned himself in. The People, in contrast,
supported the probation department’s recommendation of a four-year prison
sentence.
      The trial court admitted it lacked “the luxury of a [presentence
investigation] report” from the probation department. Nonetheless, it
rejected a split sentence “[b]ased on [Ortiz’s] failure to report,” but it found
this was a “low-term case” because Ortiz had “not had any further law
violations despite being out to warrant.” Accordingly, the trial court
permanently revoked probation and sentenced Ortiz to three years in jail,
inclusive of presentence and conduct credits. Ortiz appealed.
                                 DISCUSSION
      Ortiz contends the trial court erred in not requesting a supplemental
probation report. He further argues that this error was prejudicial because
there is reason to believe that a supplemental report would have favorably



                                         2
impacted the court’s discretionary decisions on whether to permanently
revoke probation, and whether to order a period of mandatory supervision.
      The People “agree[]” that the trial court erred in failing to order a
supplemental probation report before resentencing Ortiz. But they contend
the error was harmless because there is no reasonable probability that
additional information would have resulted in a more favorable sentence for
Ortiz. Ortiz counters we should apply a heightened prejudice standard, and,
in any event, there is a reasonable probability the trial court would have
ordered a more lenient sentence if equipped with a supplemental report.
Because we find that Ortiz was prejudiced under a reasonable probability
standard, we need not resolve which prejudice standard applies.
      Penal Code section 1203, subdivision (b)(1), requires trial courts to
order a probation report “before judgment is pronounced” for persons
“convicted of a felony” who are “eligible for probation.”1 When an initial
report is required, a supplemental report is also required “if a significant
period of time has passed since the original report.” (Cal. Rules of Court, rule
4.411(a)(2).)2 “The Advisory Committee Comment to the rule suggests that a
period of more than six months may constitute a significant period of
time . . . .” (People v. Dobbins (2005) 127 Cal.App.4th 176, 181 (Dobbins).)
      This court has explained, “where a current probation report is required,
that right is considered fundamental and its abridgement is generally treated
as reversible error.” (People v. Mariano (1983) 144 Cal.App.3d 814, 824–825.)
In Dobbins, the Third District held that the harmless error standard
governed “[b]ecause the alleged error implicates only California statutory



      1 All further statutory references are to the Penal Code unless

otherwise indicated.
      2 All rule references are to the California Rules of Court.



                                        3
law . . . ,” meaning the Court of Appeal “shall not reverse unless there is a
reasonable probability of a result more favorable to defendant if not for the
error.” (Dobbins, supra, 127 Cal.App.4th at p. 182.) A reasonable probability
in this context “ ‘does not mean more likely than not, but merely a reasonable
chance, more than an abstract possibility.’ ” (Cassim v. Allstate Ins. Co.
(2004) 33 Cal.4th 780, 800.)
      In applying the reasonable probability standard and finding the error
at hand was harmless, Dobbins emphasized the case’s “peculiar facts.”
(Dobbins, supra, 127 Cal.App.4th at p. 183.) Specifically, the defendant had
been under the “watchful eyes of correctional authorities” for six of the eight
months between the preparation of the original probation report and
sentencing. (Id. at p. 181.) And the “original probation report apprised the
trial court of defendant’s background and other relevant information.” (Id. at
p. 183.) Moreover, “[t]he judge who sentenced defendant was the same judge
who presided over the trial and was thus intimately acquainted with the facts
underlying his violation of probation, which involved use of a weapon.”
(Ibid.) Given these “peculiar facts,” it was “not reasonably probable [the]
defendant would have been granted probation had a supplemental probation
report been prepared.” (Ibid.)
      Here, in contrast, there was an over seven-year interval between the
initial report and execution of sentence. Different judges presided over
Ortiz’s original sentencing and resentencing. The record also suggests that
the trial court did not consider the initial probation report at resentencing.
More importantly, unlike the defendant in Dobbins who was under the
“watchful eyes of custodial authorities” for months, there is no other
information regarding Ortiz’s conduct or behavior during the seven-plus-year
interlude.



                                        4
         We are left with nothing but speculation as to what information a
supplemental report may have revealed. We therefore cannot say there is no
reasonable chance that such a report would not have persuaded the trial
court to impose a more favorable outcome to Ortiz. This is prejudicial to
Ortiz.
         Despite acknowledging that Ortiz did not waive the requirement of
preparing a report or forfeiting his claim on appeal (see § 1203, subd. (b)(4);
Dobbins, supra, 127 Cal.App.4th at p. 182), the People suggest Ortiz bears
fault for the absence of potentially mitigating information. This is mistaken.
The Rules of Court require the trial court to order a supplemental report.
(Cal. Rules of Court, rule 4.411(a)(2).) Moreover, Ortiz asserted that he had
been working to support his family and had turned himself in “to finally take
care of the situation.”· But we cannot say whether further information
regarding the nature of Ortiz’s work, the needs of and his involvement with
his family, or the circumstances of his surrender to authorities would have
demonstrated a reasonable chance that Ortiz would have received a lighter
sentence.3 This is why the Rules of Court require the preparation of a
supplemental report after such a lengthy passage of time. We therefore
conclude Ortiz was prejudiced by the court’s error.
                                 DISPOSITION
         The judgment is reversed, and the matter remanded for the sole
purpose of allowing the trial court to order the preparation of and consider a
current probation report, and, if appropriate, to resentence Ortiz.

         3 We observe that Ortiz is bound on appeal by the matters that were

before the trial court. (Pulver v. Avco Financial Services (1986)
182 Cal.App.3d 622, 632, superseded by statute on other grounds as stated in
Noori v. Bank of America, N.A. (9th Cir. 2018) 710 Fed.Appx. 757, 758.)
Because the court failed to order a supplemental report, the record on appeal
is, at best, inchoate.

                                         5
                                           DOUGLAS, J. *


We concur:


STREETER, Acting P.J.
GOLDMAN, J.

People v. Ortiz (A169815)




       * Judge of the Superior Court of California, County of Contra Costa,

assigned by the Chief Justice pursuant to article VI, section 6 of the
California Constitution.

                                       6
